              Case 19-41154-bem                   Doc 1     Filed 05/16/19 Entered 05/16/19 08:10:58                               Desc Main
                                                            Document     Page 1 of 12
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                American Berber, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  100 Thomas Street
                                  Calhoun, GA 30703
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Gordon                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                                                                        12 number (if known)
          American Berber, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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Debtor
                                                              Document     Page 3 ofCase
                                                                                     12 number (if known)
         American Berber, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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                                                                                    12 number (if known)
          American Berber, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 16, 2019
                                                  MM / DD / YYYY


                             X   /s/ Howard Johnson                                                      Howard Johnson
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Cameron M. McCord                                                    Date May 16, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Cameron M. McCord 143065
                                 Printed name

                                 Jones & Walden, LLC
                                 Firm name

                                 21 Eighth Street, NE
                                 Atlanta, GA 30309
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-564-9300                  Email address      info@joneswalden.com

                                 143065 GA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name American Berber, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ADD-BAC                                                                                                                                                                $102,876.54
 1001 Riverbend
 Road
 Dalton, GA 30722
 Auto Plus Auto                                                                                                                                                               $629.34
 Parts
 424 S Wall St
 Calhoun, GA 30701
 Barr Credit Services                                                                                                                                                         $750.00
 5151 E Broadway
 Blvd
 Suite 800
 Tucson, AZ 85711
 Calhoun LP Gas                                                                                                                                                               $875.58
 1600 Hwy 41 South,
 SE
 Calhoun, GA 30701
 Carpet Capital Fire                                                                                                                                                        $2,109.00
 Protection
 PO Box 3325
 Dalton, GA 30719
 D & W Paper Tube                                                                                                                                                           $2,499.00
 Inc
 PO Box 1484
 245 Duvall Road
 Chatsworth, GA
 30705
 First Source                                                                                                                                                             $19,932.49
 Worldwide, LLC
 1524 S Commerical
 St
 Neenah, WI 54956
 Freight Lines -                                                                                                                                                          $12,864.71
 Various
 Various
 Georgia Machine                                                                                                                                                            $4,465.00
 145 Gee Road
 Calhoun, GA 30701

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    American Berber, Inc.                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Grady Stafford                                                                                                                                                             $1,152.00
 PO Box 907
 Resaca, GA 30735
 Greenville Colorants                                                                                                                                                       $4,106.85
 90 Patterson Street
 New Brunswick, NJ
 08901
 Holston Gases                                                                                                                                                                $581.97
 380 Hollywood Drive
 Dalton, GA 30721
 Joseph Farless                                                                         Contingent                                                                    $5,000,000.00
 7586 Nelson Spur                                                                       Unliquidated
 Road                                                                                   Disputed
 Hixson, TN 37343
 Metal Crafters                                                                                                                                                             $9,685.98
 PO Box 451
 50 Pannell Drive
 Chatsworth, GA
 30705
 Morgan Lee Supply                                                                                                                                                          $2,533.47
 2590 Abutment
 Road
 Dalton, GA 30721
 Oerilkon                                                                                                                                                                 $11,768.83
 8801 South
 Boulevard
 Charlotte, NC 28273
 Phoenix Chemical                                                                                                                                                           $3,235.20
 Company LLC
 202 Gee Street
 Calhoun, GA 30701
 Santek Waste                                                                                                                                                                 $585.96
 Services
 PO Box 180600
 Chattanooga, TN
 37406
 Techmer PM                                                                                                                                                                 $2,920.32
 Polymer Modifiers
 PO Box 741651
 Atlanta, GA 30374
 Whitfield Electric                                                                                                                                                       $12,598.84
 Motor Sales
 926 East Morris
 Street
 Dalton, GA 30721




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                        ADD-BAC
                        1001 Riverbend Road
                        Dalton, GA 30722



                        Auto Plus Auto Parts
                        424 S Wall St
                        Calhoun, GA 30701



                        Barr Credit Services
                        5151 E Broadway Blvd
                        Suite 800
                        Tucson, AZ 85711



                        Bill Smitherman CPA LTD
                        706 S Thornton Ave
                        Suite A
                        Dalton, GA 30720



                        Calhoun LP Gas
                        1600 Hwy 41 South, SE
                        Calhoun, GA 30701



                        Calhoun Wholesale Supply
                        200 West Line Street
                        Calhoun, GA 30701



                        Carpet Capital Fire Protection
                        PO Box 3325
                        Dalton, GA 30719



                        Caylor Industrial Sales, Inc
                        PO Box 4659
                        Dalton, GA 30719



                        Chambliss Bahner & Stophel PC
                        605 Chetnut Street
                        Liberty Tower, Suite 1700
                        Chattanooga, TN 37450
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                    Christopher Carr
                    Attorney General of Georgia
                    40 Capitol Square SW
                    Atlanta, GA 30334



                    D & W Paper Tube Inc
                    PO Box 1484
                    245 Duvall Road
                    Chatsworth, GA 30705



                    Fastenal
                    145 Marine Drive SE
                    Calhoun, GA 30701



                    First Source Worldwide, LLC
                    1524 S Commerical St
                    Neenah, WI 54956



                    Freight Lines - Various
                    Various



                    Georgia Department of Labor
                    Mark Butler
                    148 Andew Young Int. Ste 900
                    Atlanta, GA 30303



                    Georgia Department of Revenue
                    Compliance Division
                    1800 Century Blvd, Ste 9100
                    Atlanta, GA 30345-3205



                    Georgia Machine
                    145 Gee Road
                    Calhoun, GA 30701



                    Grady Stafford
                    PO Box 907
                    Resaca, GA 30735
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                    Greenville Colorants
                    90 Patterson Street
                    New Brunswick, NJ 08901



                    Gregory Kinnamon
                    P.O. Box 6178
                    Dalton, GA 30722



                    Holston Gases
                    380 Hollywood Drive
                    Dalton, GA 30721



                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346



                    Internal Revenue Service
                    Central Insolvency Office
                    401 W. Peachtree St., NW
                    Atlanta, GA 30308



                    Joseph Farless
                    7586 Nelson Spur Road
                    Hixson, TN 37343



                    Metal Crafters
                    PO Box 451
                    50 Pannell Drive
                    Chatsworth, GA 30705



                    Michael Johnston




                    Mitchell Smith
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                    Morgan Lee Supply
                    2590 Abutment Road
                    Dalton, GA 30721



                    Motion Industries
                    305 Lakeland Road SE
                    Dalton, GA 30721



                    Oerilkon
                    8801 South Boulevard
                    Charlotte, NC 28273



                    Office of the US Trustee
                    75 Ted Turner Drive SW
                    Room 362
                    Atlanta, GA 30303



                    Phoenix Chemical Company LLC
                    202 Gee Street
                    Calhoun, GA 30701



                    Rockholt Equipment Inc
                    PO Box 873
                    Dalton, GA 30722



                    Santek Waste Services
                    PO Box 180600
                    Chattanooga, TN 37406



                    Secretary of the Treasury
                    15th & Pennsylvania Ave, NW
                    Washington, DC 20200



                    Techmer PM Polymer Modifiers
                    PO Box 741651
                    Atlanta, GA 30374
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                    Timothy Gibbons
                    605 Chestnust Street Suite 170
                    Liberty Tower
                    Chattanooga, TN 37450



                    U.S. Attorney General
                    U.S. Department of Justice
                    950 Pennsylvania Ave NW
                    Washington, DC 20350



                    U.S. Attorney
                    600 Richard Russell Building
                    75 Ted Turner Drive, SW
                    Atlanta, GA 30303



                    United States Postal Service
                    PO Box Fee Payment
                    Calhoun, GA 30701



                    UPS
                    PO Box 7247-0244
                    Philadelphia, PA 19170



                    Waycaster & Allred
                    P.O. Box 628
                    Dalton, GA 30722



                    Whitfield Electric Motor Sales
                    926 East Morris Street
                    Dalton, GA 30721



                    Xpress Paper & Chemical LLC
                    PO Box 804
                    Calhoun, GA 30703
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      American Berber, Inc.                                                                          Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for American Berber, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Howard Johnson
 100 Thomas Street
 Calhoun, GA 30703




    None [Check if applicable]




 May 16, 2019                                                          /s/ Cameron M. McCord
 Date                                                                  Cameron M. McCord 143065
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for American Berber, Inc.
                                                                       Jones & Walden, LLC
                                                                       21 Eighth Street, NE
                                                                       Atlanta, GA 30309
                                                                       404-564-9300 Fax:404-564-9301
                                                                       info@joneswalden.com




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